          Case 1:10-cv-04235-TCB Document 1-2 Filed 12/29/10 Page 1 of 3




                     IN THE SUPERIOR COURT OF COBB COUNTY
                               STATE OF GEORGIA

MARK DEES &
CLAIRE DEED,

               Plaintiffs,

V.                                                          CIVIL ACTION NO .
                                                            10-1-11419-49
WASHINGTON MUTUAL BANK, F .A.,
CHASE HOME FINANCE, LLC,
JPMORGAN CHASE, N .A., &
JOHN DOES 1-1000,

               Defendants .

                              NOTICE OF REMOVAL OF ACTION

TO: Jay C . Stephenson
       Clerk of Superior Court of Cobb County
       32 Waddell Street
       Marietta, GA 30090

       Defendants Chase Home Finance, LLC and JPMorgan Chase Bank, N .A. (improperly

sued as "JPMorgan Chase, N.A.") (collectively, "Defendants"), through their attorneys and

pursuant to 28 U .S .C . §§ 1332, 1441, and 1446, hereby give notice that they have removed this

action from the Superior Court of Cobb County, State of Georgia to the United States District

Court for the Northern District of Georgia, Atlanta Division . Attached hereto as Exhibit "A" is

the Notice of Removal pursuant to 28 U .S .C . §§ 1332, 1441, and 1446 that was filed today,

December 29, 2010, with the United States District Court for the Northern District of Georgia,

Atlanta Division.
  Case 1:10-cv-04235-TCB Document 1-2 Filed 12/29/10 Page 2 of 3




Respectfully submitted this 29 d' day of December, 201 0.


                                      WARG4 & FRENCH LLP

                                  cav Lzq--C-C~~~
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                                   Atlanta, Georgia 30309
                                   (404) 853-1500
                                   (404) 853-1501 (facsimile)

                                      Counsel for Defendants JPMorgan Chase Bank,
                                      N.A. & Chase Home Finance, LLC




                                         2
           Case 1:10-cv-04235-TCB Document 1-2 Filed 12/29/10 Page 3 of 3




                        IN THE SUPERIOR COURT OF COBB COUNTY
                                  STATE OF GEORGIA

MARK DEES &
CLAIRE DEES,

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V.                                                               CIVIL ACTION NO.
                                                                 10-1-11419-49
WASHINGTON MUTUAL BANK, F .A.,
CHASE HOME FINANCE, LLC,
JPMORGAN CHASE, N .A., &
JOHN DOES 1-1000,

                 Defendants .

                                    CERTIFICATE OF SERVICE

          This certifies that I have this day served a true and correct copy of the within and

foregoing NOTICE OF REMOVAL OF ACTION upon Plaintiffs by U .S. Mail, postage pre-

paid, addressed as follows :

                                       Mark & Claire Dees, Pro Se
                               400 Peachtree Industrial Blvd ., Suite 5 #518
                                           Suwanee, GA 30024

          This 29th day of December, 2010 .




                                                 J C . Jared




6489981
